       Case 2:09-cr-00125-WBS Document 190 Filed 08/26/10 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     HARDEEP SINGH
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,             )        CR-S-09-125–FCD
10                                         )
           PLAINTIFF,                      )        STIPULATION AND
11                                         )        ORDER TO CONTINUE THE
           v.                              )        JUDGMENT AND SENTENCE DATE
12                                         )        TO TUESDAY, OCTOBER 12, 2010
     HARDEEP SINGH, et al.,                )
13                                         )
          DEFENDANTS.                      )
14   ______________________________)
15
           The parties to this litigation, the United States of America, represented by
16
     Assistant United States Attorney, Mr. Jason Hitt and the defendant Hardeep Singh,
17
     represented by attorney, Mr. James R. Greiner, hereby agree and stipulate that the
18
     current date for the Judgment and Sentencing set for, Monday, September 13, 2010,
19
     can be vacated and can be rescheduled for Tuesday, October 12 , 2010, at 10:00 a.m.
20
     in Courtroom #2, 15th Floor, before the Honorable Senior District Court Judge, Frank
21
     C. Damrell, Jr..
22
           Counsel checked and the Court is available on Tuesday, October 12, 2010
23
     (Monday October 11, 2010, is a Holiday).
24
25
26
27
28                                              1
       Case 2:09-cr-00125-WBS Document 190 Filed 08/26/10 Page 2 of 2


 1        Respectfully submitted:
                                    BENJAMIN B. WAGNER
 2                                  UNITED STATES ATTORNEY
 3                                  /s/ JASON HITT by telephone authorization
 4   DATED: 8-25-10-10                    _____________________________________
                                    Jason Hitt
 5                                  ASSISTANT UNITED STATES ATTORNEY
                                    ATTORNEY FOR THE PLAINTIFF
 6
 7
     DATED: 8-25-10                 /s/ James R. Greiner
 8                                  ___________________________________
                                    James R. Greiner
 9                                  Attorney for Defendant Raymond Eugene Sills
10
11
                                          ORDER
12
13
          FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
14
15
16
     DATED: AUGUST 26, 2010
17
18
19
20                                     _______________________________________
                                       FRANK C. DAMRELL, JR.
21                                     UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28                                           2
